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                         Exhibit B
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 NO: X06-UWY-CV18-6046436-S          SUPERIOR COURT

 ERICA LAFFERTY                      COMPLEX LITIGATION DOCKET

 v.                                  AT WATERBURY, CONNECTICUT

 ALEX EMRIC JONES                    November 10, 2022

 NO: X06-UWY-CV18-6046437-S          SUPERIOR COURT

, WILLIAM SHERLACH                   COMPLEX LITIGATION DOCKET

 v.                                  AT WATERBURY, CONNECTICUT

 ALEX EMRIC JONES                    November 10, 2022

 NO: X06-UWY-CV18-6046438-S          SUPERIOR COURT

 WILLIAM SHERLACH                    COMPLEX LITIGATION DOCKET

 v.                                  AT WATERBURY, CONNECTICUT

 ALEX EMRIC JONES                    November 10, 2022


       In these three consolidated cases, the plaintiffs, 1 various

 immediate family members of victims and a         first   responder to


 1 In Lafferty v. Jones, Docket No. X06-UWY-CV-XX-XXXXXXX-S, the
 current named plaintiffs are David Wheeler, Francine Wheeler,
 Jacqueline Barden, Mike Barden, Nicole Hockley, Ian Hockley,
 Jennifer Hensel, Donna Soto, Carlee Soto-Parisi, Carlos M. Soto,
 Jillian Soto and William Aldenberg.  Each of the first eleven of
 these individuals are either a parent of a student or a close
 relative of a school employee who died in the Sandy Hook tragedy.
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the December 14, 2012 Sandy Hook school shooting,                        have brought

suit against the defendants,          Alex Emric Jones and Free Speech

Systems,     LLC. 2    In   the   operative     complaints,    3    the    plaintiffs

allege     the   following    relevant       facts   against       the    defendants.

Jones is a radio and internet personality who resides in Austin,

Texas.     He is the host of "The Alex Jones Show" and he owns and

operates     the      websites    Inforwars.com        and     PrisonPlanet.com.

Infowars, LLC is a Texas limited liability company that produces

and broadcasts Alex Jones'          Infowars.        Free Speech Systems, LLC

is a     Texas   limited liability company that owns                 Infowars. com.



Aldenberg is a first responder who responded to the scene on the
date of the shooting. Additionally, the original plaintiff Erica
Lafferty was replaced as a plaintiff by her bankruptcy trustee
Richard Coan on October 20, 2021. In both Sherlach v. Jones cases,
docket numbers X06-CV-XX-XXXXXXX-S and X06-CV-XX-XXXXXXX-S, the
named plaintiffs are William Sherlach and Robert Parker.  Sherlach
is the spouse of a school psychologist and Parker is the parent of a
student who were murdered by Adam Lanza during the Sandy Hook
incident.
2
  Although there were many additional defendants when these cases
were originally brought, the only remaining defendants at this
juncture are Alex Emric Jones and Free Speech Systems, LLC.
3
  As the operative complaints in the three cases allege largely the
same facts, they will be discussed simultaneously.




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Similarly,       Infowars Health, LLC and Prison Planet TV,          LLC are

also Texas-based companies.             All of the above-mentioned Texas

business-entity       defendants        are   owned,   controlled,    and/or

operated by the defendant Alex Jones and are employed to hold

and generate revenue for him.           The Alex Jones Show is syndicated

on more than sixty radio stations and it has an audience of two

million people.       Jones and Infowars have an audience of millions

more,    including     2.3    million    subscribers   to   Jones'   YouTube

channel.

        The plaintiffs allege that following the 2012 Sandy Hook

shooting,    "Jones and the rest of the Jones defendants acted

together    to    develop,    disseminate     and propagate               false

statements"       regarding     the     incident.      According     to     the

plaintiffs, Jones made these comments even though he "does not

in fact believe that the Sandy Hook [s]hooting was a hoax-and

he never has."       The plaintiffs assert that Jones has developed

a "very lucrative business model" pedaling "conspiracy-minded

falsehoods like those about Sandy Hook" for immense monetary




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gain.        In    fact,      by   May,     2013,      Jones     was   alleged     to   make

approximately $10 million annually.                       Specifically, Jones began

telling      his       audience      that      the    Sandy    Hook    shooting       was   "a

government-sponsored hoax designed to lead to gun control .
 ff
        In   furtherance           of    this       objective,    Jones    began      making

comments questioning the veracity of the Sandy Hook shootings

and the sincerity of the reactions of some of the plaintiffs.

For example, on January 27, 2013, Jones posted a video on his

YouTube channel titled "Why People Think Sandy Hook is A Hoax."

Jones appeared in the video and commented that:                             "evidence is

beginning         to   come    out      that    points    more     and    more   in     [the]

direction" that the Sandy Hook shooting was "a staged event"

and that there "appears to be people who've been coached, people

who have been given cue                  cards,      people who are behaving like

actors."          In that video,          Jones      stated that plaintiff Robert

Parker, who lost a daughter in the shooting, was laughing and

asking if he should read off a card.                          Similarly, on March 14,

2013, Jones stated: "We've clearly got people where it's actors




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playing    different    parts     of people.            I've     looked    at     it   and

undoubtedly      there's    a     cover       up,     there's     actors,       they're

manipulating,     they've been        caught lying,         and they were pre-

planning before it and rolled out with it."

        As further examples of Jones' statements, on May 13, 2014,

Jones hosted a Sandy Hook denier named Wolfgang Halbig on his

show.     Jones commented: "I mean it's fake.                     . it's fake

you've got parents acting                           It is just the fakest thing

since the three-dollar bill."                 On September 2 5,           2014,    Jones

asserted on his radio show that FBI statistics demonstrated that

nobody was killed at Sandy Hook.                    The plaintiffs specifically

allege    that   "[t] his   was   a   false         statement.      FBI    statistics

showed no such thing."          Thereafter, on December 28, 2014, Jones

took a call from a listener named Kevin who purported to live

close to Newtown.       Jones then stated: "[t]he whole thing is a

giant hoax.      And the problem is, how do you deal with a total

hoax?     How do you even convince the public something's a total

hoax.            The general public doesn't                know    the    school was




                                          5
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actually closed the year before.              They don't know that they've

sealed it all,         demolished the building.        They don't know that

they had the kids going in circles in and out of the building

as a photo-op.          Blue screens,       green screens,   they got caught

using."     On July 7, 2015, Jones stated: "[b]ut what about how

for a mass shooting in Pakistan, they got photos of Sandy Hook

kids.             [I]t's like the same P.R. company is running this."

Additionally, on November 17, 2016, Jones told his audience that

he's seen "weird videos of reported parents of kids laughing

and then all of sudden they do the hyperventilating to cry and

go on TV."        Jones has also repeatedly asked his listeners to

"investigate" the events surrounding the Sandy Hook shooting

and that has led to individuals such as the plaintiffs being

subjected    to    "physical    confrontation        and   harassment,    death

threats,    and    a    sustained   barrage     of   harassment    and   verbal

assault on social media."

        Throughout their complaints           in each of the      three cases,

the plaintiffs allege many more examples of comments made by




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Jones and his associates where they questioned if the shooting

occurred and whether the plaintiffs'                      relatives actually died .

The plaintiffs allege the following causes                         of action against

the       defendants:       ( 1)   count   one-invasion         of privacy   by      false

light; (2) count two-defamation and defamation per se;                       (3) count

three-intentional infliction of emotional distress;                          ( 4)    count

four-negligent infliction of emotional distress and                          (5)     count

five-violations of the Connecticut Unfair Trade Practices Act

    ( CUT PA) ,   General    Statutes      §   42-11 0a    et    seq.     Each      of   the

plaintiffs'         first     four   causes of action affix the additional

label "civil conspiracy." 4

          On October 6, 2021, the plaintiffs moved for a disciplinary

default against the defendants claiming litigation misconduct

on the part of the defendants.                     Essentially,         the plaintiffs

argued that liability should be conclusively established against

the defendants because of their repeated discovery violations



4on November 18, 2021, this court denied the defendants' motion to
strike all counts of the plaintiffs' complaint.




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throughout the course of the litigation.             The defendants filed

a   memorandum of   law   in   opposition,     and   following   a   hearing

conducted on November 15,        2021,   the   court entered a       default

against the defendants,        ruling "(T) he case will proceed as a

hearing in damages as to the defendants.             The court notes Mr.

Jones is the sole controlling authority of all the defendants,

and that the defendants filed motions and signed off on their

discovery issues jointly.       And all of the defendants have failed

to fully and fairly comply with their discovery obligations." 5

      Evidence commenced in a hearing in damages before a jury

commenced on September 13, 2022 ..       On October 12, 2022, the jury

reached its verdict as to the various plaintiffs.           Specifically,

the jury awarded the following damages:         (1) as to Robert Parker,


5 The defendants in these cases have repeatedly engaged in conduct
designed to thwart their discovery obligations or otherwise avoid
the administration of justice.   For example, the Supreme Court
previously upheld this court's decision to revoke the defendants'
opportunity to file a motion to dismiss under the anti-SLAPP
statute, General Statutes§ 52-196a, because the defendants "had
violated numerous discovery orders and that Jones personally had
eng'aged in harassing and intimidating behavior directed at the
plaintiffs' counsel, Attorney Christopher Mattei." Lafferty v.
Jones, 336 Conn. 332, 337-38, 246 A.3d 429 (2020).




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 $120 million;         (2)    as to David Wheeler,                       $ 5 5 million;      (3)   as to

 Francine Wheeler,                $ 54   million;          ( 4)     as   to     Jacqueline       Barden,

 $28.8 million;         (5) as to Mark Barden, $57.6 million;                                 (6) as to

 Nicole Hockley,             $7 3. 6 million;              ( 7)    as    to     Ian Hockley,       $81. 6

 million;   (8) as to Jennifer Hensel, $52 million;                                     (9) as to Donna

 Soto,   $48 million;             (10)    as to Carlee Soto Parisi,                       $66 million;

 (11) as to Carlos Matthew Soto, $57.6 million;                                    (12) as to Jillian

 Soto-Marino,     $68. 8 million;                   (13)    as to William Aldenberg,                    $90

 million;   ( 14) as to Erica Lafferty,                            $ 76 million and ( 15) as to

 William Sherlach, $36 million.                            Additionally, the jury awarded

 reasonable      attorney's              fees       and     costs,         in      an   amount     to    be

 determined by the court at a later date.

         Following the              jury's verdict,                on October 21,            2022,      the

 plaintiffs      filed        a     brief       regarding            CUTPA      punitive      damages.

 Thereafter,     on October 28,                     2022,         the defendants          submitted a

memorandum of law in opposition to an award of punitive damages.

The plaintiffs filed a bench brief on attorneys' fees and costs

 on   November    3,     2022,           and    a    reply         brief      to    the    defendants'




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 memorandum of law in opposition to the award of punitive damages

 on November 4, 2022. The court heard oral argument on the issue

 of punitive damages on November 7, 2022.

                        Common Law Punitive Damages


        The Connecticut Supreme Court has most recently described

 the    well-settled      common      law   rule   followed    in     Connecticut

 pertaining to punitive damages              in Bifolck v.      Philip Morris,

 Inc., 324 Conn. 402, 447-49, 152 A.3d 1183 (2016): "In Waterbury

 Petroleum Products, Inc. v. Canaan Oil              &    Fuel Co.,    [193 Conn.

 208,    235,     477   A.2d   988     (1984)],    this    court    declined    to

 reconsider limits that it had placed on the recovery of punitive

damages.        In doing so, the court explained:          'Long ago, in Hanna

v. Sweeney, 78 Conn. 492, 62 A. 785 (1906), this court set forth

the rule which we have since followed regarding the appropriate

measure    of     [common-law]       punitive   damages.      In    limiting   our

measure to the expense of litigation less taxable costs,                       the

court noted that under the typical [common-law]                    rule the jury

was permitted to exercise a virtually unchecked discretion to
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 award damages not only to make the injured person whole, but to

 punish the wrongdoer.         . The court further recognized that

 the doctrine of punitive damages which permits recovery beyond

 compensation prevailed in most jurisdictions, but, nonetheless,

 it refused to adopt such a rule characterizing it as a hybrid

 between a display of ethical indignation and the imposition of

 a criminal fine.        . Thus, such a rule was found to be at a

 variance with the generally accepted rule of compensation in

 civil cases.         Since Hanna, we have consistently adhered to

 this view.

      "'The subject of punitive damages has been one of great

 debate throughout the course of American jurisprudence.

 Typically,   those who disfavor punitive damage awards in civil

 cases point to the prospect that such damages are frequently

 the result of the caprice and prejudice of jurors,          that such

damages may be assessed in amounts which are unpredictable and

bear no relation to the harmful act, and that the prospect of




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 such damages      assessed     in    such a      manner may have    a   chilling

 effect on desirable conduct.

        "' In permitting awards of punitive damages,               but limiting

 such damages as we do,         our rule strikes a balance-it provides

 for the payment of a victim's costs of litigation, which would

 be   otherwise    unavailable to him,            while establishing a      clear

 reference to guide the jury fairly in arriving at the amount of

 the award.       Further,    although our rule is a limited one, when

 viewed in light of the ever rising costs of litigation, our rule

 does   in   effect   provide        for   some   element   of   punishment   and

 deterrence in addition to the compensation of the victim.                 Thus,

 in limiting punitive damage awards to the costs of litigation

 less taxable costs,         our rule fulfills the salutary purpose of

 fully compensating a victim for the harm inflicted on him while

 avoiding the potential for injustice which may result from the

exercise of unfettered discretion by a jury.'                       . Waterbury

 Petroleum Products,         Inc. v. Canaan Oil       &   Fuel Co., supra, 193




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 Conn. 236-38."       Bifolck v. Philip Morris, Inc., supra, 324 Conn.

 447-49.

        "In Connecticut, common-law punitive damages, also called

 exemplary damages,         primarily are compensatory in             nature.    See

 Bodner v. United Services Auto. Assn., 222 Conn. 480, 492, 610

 A.2d 1212     (1992)      (in Connecticut,       common-law punitive damages

 'are limited to the plaintiff's attorney's fees and nontaxable

 costs, and thus serve a function that is both compensatory and

 punitive');      see also Hylton v.            Gunter,   313 Conn.   472,493,    97

 A.3d 970 (2014)        (McDonald, J., dissenting)          (common-law punitive

 damages are compensatory in nature, but also serve 'a punitive

 and deterrent function').             'To furnish a basis for recovery of

 punitive damages,         the pleadings must allege and the evidence

 must   show      wanton    or    wilful    malicious      misconduct,    and    the

 language      contained     in    the     pleadings      must   be   sufficiently

 explicit to inform the court and opposing counsel that such

 damages    are    being     sought.                 If   awarded,    [common-law]

 punitive damages are limited to the costs of litigation less




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 taxable costs, but, within that limitation, the extent to which

 they are awarded is in the sole discretion of the trier.

 Limiting   punitive    damages    to    litigation     expenses,    including

 attorney's   fees,     fµlfills    the      salutary    purpose     of     fully

 compensating a victim for the harm inflicted . . . while avoiding

 the potential for injustice which may result from the exercise

 of unfettered discretion by a jury . . . . We have long held that

 in a claim for damages, proof of the expenses paid or incurred

 affords some evidence of the value of the services                 . . . Label

 Systems Corp. v. Aghamohammadi, 270 Conn. 291, 335-36, 852 A.2d

 703 (2004); but cf. Berry v. Loiseau,           [223 Conn. 786, 827,         614

A.2d 414    (1992)]    (common-law punitive damages,         when viewed in

 the light of the increasing costs of litigation,              also       [serve]

to punish and deter wrongful conduct).'           . . . Hylton v. Gunter,

 supra, 313 Conn. 486 n.14.

      "Juries in Connecticut have been awarding punitive damages

for   'wanton or malicious injuries'          for more than two hundred

years.   See, e.g., Linsley v. Bushnell, 15 Conn. 225, 235 (1842),




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 and cases cited therein.                  More recently,               in Bifolck v. Philip

 Morris,        Inc.,         [supra,    324    Conn.           451],     our    Supreme     Court

 confirmed that, in a jury trial, the question of the amount of

 punitive damages is for the jury, not the court, when the parties

 do not agree to have the court decide that issue.                               As our Supreme

 Court     explained:           'Indeed,       it        was    precisely       because      juries

 assessed the amount of punitive damages                                 that this     court was

motivated to adopt the common-law rule,                                 limiting the exercise

 of the jury's discretion by tying such damages to litigation

 expenses.'             Id.         In   reaching         this     conclusion,         the   court

 distinguished          common-law punitive                    damages    from   the    award of

punitive        damages        or    attorney's          fees    under     certain     statutory

 causes of action that specifically provide that the court, not

the jury, is to determine the amount to be awarded.                                    Id., 449-

 51.

         "The    [purpose]          of awarding          [common law] punitive damages

is not to punish the defendant for his offense, but to compensate

the plaintiff for his injuries . .                               The rule in this state as




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 to torts is that punitive damages are awarded when the evidence

 shows    a    reckless    indifference to the rights                        of others or an

 intentional and wanton violation of those rights . . . . An award

_of punitive damages is discretionary, and the exercise of such

 discretion will          not ordinarily be interfered with on appeal

 unless the abuse is manifest or injustice appears to have been

 done."        (Internal quotation marks omitted.)                         Bridgeport Harbour

 Place    I,    LLC v.    Ganim,   131 Conn.             App.    99,       166,     30 A.3d 703,

 cert.    granted,       303   Conn.    904,        31    A.3d     1179           (2011)     (appeal

 withdrawn January 27, 2012), and cert. granted, 303 Conn. 905,

 31 A.3d 1180 (2011)           (appeal withdrawn January 26, 2012).

         As an example,        the court in Bridgeport Harbour Place I,

 LLC,    upheld an award of common law punitive damages, explaining

 its reasoning as follows:             "On the basis of the jury's finding

against         [the     defendant]        on       the         plain.tiff's             fraudulent

misrepresentation claim,             the       [trial]      court was satisfied that

the      plaintiff       had   proven      a     reckless          indifference             to     its

contractual        and    business      interests          to ·warrant              an     award    of

                                                                       )




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 punitive damages against         [the defendant].           The   [trial]    court

 further found that the plaintiff's fee agreement with counsel

 was 30 percent of the first $6 million recovered and therefore

 the   plaintiff was     seeking    $54, 600      in   attorney's    fees.        The

 [trial] court agreed with the plaintiff that it could consider

 its   fee   agreement     with   counsel    to     determine      its    award    of

 attorney's fees.        [The Appellate Court]           conclude [d]      that the

 [trial] court's award of attorney's fees did not constitute an

 abuse of its discretion, as it is consistent with the guidance

 provided by our Supreme Court."           (Footnote omitted.)           Bridgeport

 Harbour Place I, LLC v. Ganim, supra, 131 Conn. App. 168, citing

 Schoonmaker v.    Lawrence Brunoli,        Inc.,      265 Conn.    210,    268-70,

 828 A.2d 64     (2003),    and Sorrentino v.          All   Seasons Services,

 Inc., 245 Conn. 756, 773-77, 717 A.2d 150(1998).

       As set forth above,        the court is tasked with determining

 the amount of attorneys fees and costs to be awarded as common

 law punitive damages,       following the jury's award of attorneys

 fees and costs. Awarding attorneys fees under the terms of a




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 reasonable       retainer agreement           "protects the plaintiff's            jury

 award by ensuring that the fees ordered are sufficient to cover

 the plaintiff's financial obligation, under the contingency fee

 agreement, to its attorney."              Schoonmaker v. Brunoli, 265 Conn.

 at 210, 271 n.77 (2003).               Based upon the court's review of the

 affidavit of Attorney James Horwitz and the agreement of the

 parties,       the    court    finds   that    the    terms   of    the    plaintiffs'

 retainer agreements are reasonable.

         "A trial       court should not depart           from a         reasonable fee

 agreement      in     the absence      of a persuasive          demonstration that

 enforcing the agreement would result in substantial unfairness

 to   the      defendant."        Schoonmaker    265     Conn.      at    270   (quoting

 Sorrentino,          245 Conn.    at 776).     The defendants           here urge the

 court    to    engage     in   such departure        by awarding          only nominal

 damages, essentially arguing that the size of the jury verdicts

 is punitive and serves to deter,                and that the verdict already

 reflects      the     default sanction        and is punishment enough.             The

 court finds this argument unpersuasive.                   The law presumes that




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 the jury followed the law set forth in their instructions. See,

 e.g.,    Willow Springs Condo. Ass'n,                       Inc.   v.   Seventh BRT Dev.

 Corp.,    2 45 Conn.     1,    44   (199 8)         ( "Absent clear evidence to the

 contrary, we assume that the jury acted in accordance with the

 charge."). The defendants also take the position that awarding

 more     than     nominal     damages      would          serve    a    hardship   on   the

 defendants, including Free Speech Systems, LLC., which has filed

 for bankruptcy.          The record does              not    support     this   conclusory

 claim of hardship with respect to Alex Jones, and the mere fact

 that Free Speech Systems,                LLC.       has filed for bankruptcy does

 not     justify a nominal award of common law punitive damages.

 Thus,    to the extent that the defendants argue that enforcing

 the retainer agreements would result in substantial unfairness

 to the defendants,            the court is not persuaded.                  Additionally,

 the court rejects the defendants'                      due process argument for an

 award of nominal damages only,                  as on these facts,          a common law

 punitive    damages      award      limited          to   attorneys      fees   and   costs

pursuant      to    the    terms     of     a        reasonable      retainer    agreement




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 comports with due process. Simply put, there is no sound reason

 for the court not to fully compensate the plaintiffs for their

 financial         obligations        under        their     reasonable         retainer

 agreements.

      For the        foregoing      reasons,       the   court awards      common law

 punitive damages as follows: As to Robert Parker,                        $40 million;

 as to David Wheeler,          $18 .33 million;            as to Francine Wheeler,

 $18 million;       as to Jacqueline Barden, $9.6 million; as to Mark

 Barden,    $19 .2 million;         as to Nicole Hockley,           $24.53 million;

 as to Ian Hockley, $27.2 million;                 as to Jennifer Hensel, $17.33

 million;     as     to    Donna     Soto,        $16    million;    as    to     Carlee

 Soto Parisi,       $22    million;     as    to    Carlos    Matthew     Soto,    $19.2

million;     as     to    Jillian     Soto-Marino,         $22.93   million;      as   to

William Aldenberg,          $30 million;           as to Erica Lafferty,          $25.33

million; and as to William Sherlach, $12 million.                         Non-taxable

costs are awarded to each plaintiff in the amount of $99,303.73,

representing 1/15th of the plaintiffs' total claimed non-taxable

costs of $1,489,555.94.




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  Punitive Damages Pursuant to the Connecticut Trade Practices
         Act (CUTPA), General Statutes § 42-llOa et seq.

        General Statutes§ 42-llOg provides in relevant part: "(a)

 Any    person   who    suffers   any    ascertainable     loss     of     money   or

 property, real or personal, as a result of the use or employment

 of a method, act or practice prohibited by section 42-llOb, may

 bring an action . . . to recover actual damages.                    . The court

 may, in its discretion, award punitive damages and may provide

 such    equitable      relief    as    it    deems   necessary     or     proper."

 (Emphasis added.)        "The language is clear and unambiguous; the

 awarding of punitive damages is within the discretion of the

 trial court."         (Internal quotation marks omitted.)               Bridgeport

 Harbour Place I, LLC v. Ganim,              131 Conn. App.   99,   139, 30 A.3d

 703, cert. granted, 303 Conn. 904, 31 A.3d 1179                  (2011)     (appeal




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 withdrawn January 27,         2012), and cert. granted,      303 Conn.          905,

 31 A.3d 1180     (2011)     (appeal withdrawn January 26,        2012) .   6



       For various policy reasons,             punitive damages under CUTPA

 are determined by the court,           not the jury.      "It is reasonable

 to   conclude    that   the   legislature      provided   that   a   claim       for

 punitive damages under CUTPA should be submitted to the trial

 court,   and    not   the   jury,   because    it believed that the            court

 would be aware of the range of punitive damages that have been


 6
 The Supreme Court has held that punitive damages awarded pursuant
to CUTPA are separate and distinct from awards of attorney's fees.
"[T]he legislature did not intend to limit punitive damages awards
pursuant to§ 42-llOg (d) to 'the expenses of bringing the legal
action, including attorney's fees, less taxable costs . . . . Section
42-llOg (a) expressly authorizes the trial court to award punitive
damages in addition to the award of attorney's fees authorized by§
42-llOg (d). Nothing in the language of the statute suggests that
punitive damages are the same as attorney's fees, consistent with
the common-law rule.   If the legislature had intended to impose such
a limitation, it presumably would have done so either by authorizing
the trial court to award double attorney's fees or by authorizing it
to award double punitive damages. The fact that the legislature
enacted two distinct provisions indicates that it contemplated two
distinct types of awards . . . . Moreover, as we have indicated, both
this court and the Appellate Court have repeatedly, over the course
of many years, upheld multiple damages under the punitive damages
provision of CUTPA . . . and the legislature has never amended the
statute to provide otherwise."   (Citations omitted; footnote
omitted; internal quotation marks omitted.)   Ulbrich v. Groth, 310
Conn. 375, 449-50, 78 A.3d 76 (2013).




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 awarded for        similar CUTPA violations,               that it would be less

 likely to be swayed by appeals to emotion and prejudice, and,

 therefore, it would be less likely to render an award that was

 an outlier.       Cf. Gill v. Petrazzuoli Bros., Inc.,                [10 Conn. App.

 22,    34,   521 A.2d 212      (1987)]     (" [t) o foreclose the possibility

 of prejudice entering the decision-making process, the award of

 attorney's fees         [under CUTPA]      has been placed in the hands of

 the court" instead of jury); see also MedValUSA Health Programs,

 Inc. v. MemberWorks, Inc.,           [273 Conn. 634, 673-74, 872 A.2d 423)

 (Zarella, J., dissenting)           (legislature vested authority to make

 punitive damages award under CUTPA in court instead of in jury

 to safeguard against risk of excessive awards)                        [cert.    denied

 sub nom. Vertrue, Inc. v. MedValUSA Health Programs, Inc.,                          546

 U.S.     960,     126   S.    Ct.   479,        163   L.   Ed.   2d   363      (2005)].

 Accordingly,        the      concerns      that       underlie    the       common-law

 limitation on punitive damages have far less weight when the

 claim is        submitted to the trial court instead of the jury."

 Ulbrich v. Groth,         310 Conn. 375, 451-52, 78 A.3d 76 (2013).




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         "Unlike      punitive    damages        under    Connecticut           common     law,

 punitive damages under CUTPA are focused on deterrence, rather

 than mere compensation.            See State Farm Mutual Automobile Ins.

 Co. v. Campbell, 538 U.S. 408, 416, 123 S. Ct. 1513, 155 L. Ed.

 2d     585     (2003)     (punitive     damages         aimed        at    deterrence      and

 retribution);           Larsen Chelsey Realty Co.               v.    Larsen,      232 Conn.

 480,    509,    656 A.2d 1009          (1995)    (CUTPA remedy not limited to

 compensatory         damages;    court     may    award     punitive           damages     and

 attorney's fees); Lord v. Mansfield, 50 Conn. App. 21, 27, 717

 A.2d     267     (punitive      damages     intended       not            merely    to   deter

 defendant but to deter others from committing similar wrongs),

 cert. denied, 247 Conn.           943, 723 A.2d 321              (1998)       [overruled on

 other grounds by Hylton v. Gunter,                  313 Conn. 472,             97 A.3d 970

 (2014)]; Lenz v. CNA Assurance Co., 42 Conn. Sup. 514, 630 A.2d

 1082 (1993)         (financial circumstances of defendant relevant and

material        to   deterrent     of     noncornmon-law          punitive          damages)."

 Bridgeport Harbour Place I, LLC v. Ganim, supra, 131 Conn. App.

 140.




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       "Punitive         damages       [under    CUTPA]     must    be      proven      by   a

 preponderance of the evidence."                 Id., 141.     "[W]hen considering

 punitive damages,         the evidence must be relevant,                    or directly

 related     to    the    plaintiff's       ascertainable          loss."        Id.,     143

 (rejecting        plaintiff's          argument     that     court         should       have

 considered       evidence       of    misconduct       unrelated      to    plaintiff's

 damages     in    calculating punitive            damages    award      under     CUTPA).

 "[T]he nature of the [defendants'] conduct, the actual harm to

 the plaintiff and the harm the [defendants] intended to inflict

 are all relevant considerations."                      ( Internal quotation marks

 omitted.)        Id.,   144.     "In order to award punitive or exemplary

 damages,    evidence must            reveal a    reckless indifference to the

 rights of others or an intentional and wanton violation of those

 rights.             In fact,         the flavor of the basic requirement to

 justify an award of punitive damages is described in terms of

 wanton     and     malicious         injury,    evil      motive     and     violence."

 (Internal quotation marks omitted.)                      Ulbrich v.     Groth,      supra,

 310   Conn.      446.          "As   compared     to     punitive       damages        under




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 Connecticut common law, punitive damages under CUTPA are focused

 on   deterrence,      rather   than       mere   compensation.

 Consequently, the defendants' financial condition is a relevant

 consideration.      Once deterrence rather than compensation becomes

 the focus of CUTPA punitive damages                 . then the financial

 standing of the party against whom damages are sought becomes

 relevant and material."        (Citation omitted; internal quotation

marks    omitted.)     Bridgeport    Harbour      Place   I,   LLC   v.     Ganim,

 supra, 131 Conn. App. 144.

        Our   appellate   courts    have    discussed     several      specific

approaches to the calculation of appropriate punitive damages

awards pursuant to CUTPA.          "[T]he Appellate Court has observed

that awarding an amount equal to the plaintiff's actual damages

is a recognized method for determining punitive damages under

CUTPA.        . . It is not an abuse of discretion to award punitive

damages based on a multiple of actual damages.                            [C]ourts

generally award punitive damages            in amounts     equal     to actual

damages or multiples of the actual damages.                          Indeed,    it




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 appears   that    in   terms   of    consistency or frequency,            punitive

 damages awards under CUTPA are generally equal to or twice the

 amount of the compensatory award."              (Citations omitted; internal

 quotation marks omitted.)            Id., 144-45.

      In Ulbrich v. Groth, supra, 310 Conn. 452-53, the Supreme

 Court discussed considerations applicable to common law awards

 of   punitive     damages      before        turning   to     a    discussion      of

 appropriate      considerations       pertaining       to   such    awards      under

 CUTPA.    It explained: "In [Exxon Shipping Co. v. Baker, 554 U.S.

 471, 128 S. Ct. 2605, 171 L. Ed. 2d 570 (2008)),                    the defendant

 challenged the size of a punitive damages award that the jury

 had rendered against it under maritime                 law.       Id.,   489.     The

 court concluded that the limits on such awards fell                      'within a

 federal court's jurisdiction to decide in the manner of a common

 law court .               Id.,      489-90.     After reviewing the history

of punitive damages under the common law and the standards and

 limitations that various            jurisdictions have applied to them,

the court in Exxon Shipping Co.                observed that several studies




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 had been done to determine             'the median ratio of punitive to

 compensatory verdicts,          reflecting what juries and judges have

 considered reasonable across many hundreds of punitive awards.'

 Id.,    512.     'These studies cover cases of the most as well as

 the least blameworthy conduct triggering punitive liability,

 from malice and avarice,            down to recklessness,           and even gross

 negligence in some jurisdictions.                 The data put the median ratio

 for the entire gamut of circumstances at less than 1:1

 meaning that the compensatory award exceeds the punitive award

 in most cases.           In a well-functioning system, we would expect

 that awards at the median or lower would roughly express jurors'

 sense    of    reasonable penalties          in    cases    with    no    earmarks    of

 exceptional       blameworthiness       within       the     punishable      spectrum

 (cases              without     intentional        or malicious          conduct,    and

without        behavior     driven   primarily       by     desire   for    gain,     for

example)        and cases            without the modest economic harm or

odds of detection that have opened the door to higher awards.

 It also seems fair to suppose that most of the unpredictable




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 outlier cases that call the fairness of the system into question

 are above the median                  . Accordingly,   given the need to

 protect against the possibility (and the disruptive cost to the

 legal system) of awards that are unpredictable and unnecessary,

 either for deterrence or for measured retribution, we consider

 that a 1:1 ratio,         which is above the median award,       is a fair

 upper limit in such maritime cases.' . . . Id., 512-13."           Ulbrich

 v. Groth, supra, 310 Conn. 452-53.

       In light of the differences between punitive damages claims

 under CUTPA and the punitive damages claims under maritime law

 at issue in Exxon Shipping Co.,             the court in Ulbrich declined

 to adopt     the   same   a one-to-one      ratio of punitive damages to

 compensatory damages as an upper limit for punitive damages in

 CUTPA cases.       Id., 453-54.      Nevertheless, the court adopted the

 factors that were considered by the United States Supreme Court

 in   Exxon   Shipping     Co.   in   determining whether   the   amount    of

punitive damages awarded pursuant to CUTPA is excessive.                   The

 court explained that "in determining whether a punitive damages




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 award pursuant to§ 42-ll0g (a) is so excessive as to constitute

 an abuse of discretion,            the court should consider the factors

 that the court in Exxon Shipping Co. discussed.                         These include

 the   'degrees of      relative blameworthiness,'               i.e.,       whether     the

 defendant's     conduct      was    reckless,       intentional        or        malicious;

 Exxon Shipping Co. v.         Baker, supra,          554 U.S.        493; whether the

 defendant's '[a]ction [was] taken or omitted in order to augment

 profit';     id.,   494;   see     also   id.,      503   (some      courts        consider

 whether wrongful conduct was profitable to defendant); whether

 the wrongdoing was hard to detect; id., 494; whether the injury

 and compensatory damages were small, providing a low incentive

 to bring the action; id.; and whether the award will deter the

 defendant and others from similar conduct, without financially

 destroying      the     defendant.                         Of        these         factors,

 reprehensibility of a defendant's conduct is the most important.

         Reprehensibility is determined by considering whether:

 the   harm   caused    was    physical         as   opposed     to     economic;        the

tortious      conduct   evinced       an   indifference          to    or     a     reckless




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 disregard of the health or safety of others; the target of the

 conduct   had   financial     vulnerability;     the    conduct     involved

 repeated actions or was an isolated incident; and the harm was

 the result of intentional malice, trickery, or deceit, or mere

 accident."      ( Citations   omitted;     footnotes    omitted;    internal

 quotation marks omitted.)        Ulbrich v.    Groth,    supra,    310 Conn.

 454-56.

      "[I] n determining the amount of punitive damages, the court

 may consider that a frequent or consistent range of punitive

 damages awarded under CUTPA is a ratio that is equal to or twice

 the amount of the compensatory damages,          and that particularly

 when it is claimed that the award should exceed this range, the

 award ordinarily should be premised on aggravating factors that

 are identifiable and articulable.                  [W] hen high punitive

 damages   are being claimed,      a    consideration    of   the normative

 range of punitive awards and an identification of articulable,

aggravating factors supporting an award outside this range are

wholly consistent with a        reasonable exercise of the            court's




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 discretion          to     award   punitive        damages      that      are     rational,

 predictable          and     consistent."              (Internal        quotation      marks

 omitted.}       Bridgeport Harbour Place I, LLC v. Ganim, supra, 131

 Conn. App. 146.

         In    awarding       punitive       damage       awards     that        exceed    the

 normative       range,      the    court    should,      therefore,       identify "the

 factors      that militate in favor of a high,                    rather than a low,

 award of punitive damages                               See id.    (noting that trial

 court, as directed by Exxon Shipping Co.,                         had identified such

 factors and concluding that court had not abused its discretion

 in   awarding        punitive      damages        in   amount     six    times     that    of

 compensatory damage award}.                 The court also may consider "the

 actual       loss    suffered by      the     [plaintiffs]         and     [whether]      the

 compensatory damages awarded the [plaintiffs] militates against

 a high punitive damage award."                    Id., 146-47.

         In Bridgeport Harbour Place I,                   LLC v.    Ganim,       supra,    131

Conn. App. 147-49, the Appellate Court explained that the trial

 court        "found        that    among      the       more      vexing,        competing




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 considerations presented to the court in determining the amount

 of the punitive award in this case is,                      on one hand, the issue

 of   deterrence,      particularly        in        light    of    the    [defendants']

 financial net worth,          and on the other hand,                the issue of the

 overall reasonableness and rationality of a high punitive award

 in light of the amount of the plaintiff's actual recovery and

 the considerations highlighted by [Exxon Shipping Co. v. Baker,

 supra, 554 U.S. 471]                  [and] note[d]             that because neither
                           .
 compensation    nor      enrichment       is    a    valid      purpose    of    punitive

 damages,    an award should not be so large as                       to constitute a

windfall to the individual litigant.

       "The court also was mindful that, in addition to statutory

 factors     bearing      on   its   discretion,             a     broader,      threshold

 consideration      is    that     high        punitive      awards       may    implicate

constitutional         concerns.          In     Bristol         Technology,      Inc.   v.

Microsoft Corp.,         114 F. Sup. 2d 59 (D. Conn. 2000), vacated on

other grounds, 250 F . 3d 152          (2d Cir. 2001), the District Court

stated      'the United States Constitution imposes a substantive




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 limit on the size of punitive damages awards.                               This is

 because    [p] unitive damages pose an acute danger of arbitrary

 deprivation of property.            . Still,          [i] n our federal system,

 States necessarily have considerable flexibility in determining

 the level of punitive damages that they will allow in different

 classes of cases and in any particular case.                        Only when an

 award [of punitive damages] can fairly be categorized as grossly

 excessive in relation to      [the State's legitimate interests in

 punishment    and    deterrence]     does         it     enter   the       zone    of

 arbitrariness that violates [due process].'                         Id.,   86.

      "To satisfy federal due process concerns, the United States

 Supreme Court has 'instructed courts reviewing punitive damages

 to consider three guideposts:       (1) the degree of reprehensibility

 of the defendant's misconduct;           ( 2)    the disparity between the

 actual    or potential   harm suffered by              the   plaintiff     and the

punitive    damages   award;   and    (3)        the    difference    between      the

punitive damages awarded by the jury and the civil penalties




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 authorized or imposed in comparable cases.'                   State Farm Mutual

 Automobile Ins. Co. v. Campbell,              supra, 538 U.S. 418 . .

         "The United States Supreme Court has                 'been    reluctant    to

 identify concrete constitutional limits                on the        ratio between

 harm,    or potential      harm,    to   the    plaintiff     and the punitive

 damages award.             . We decline again to impose a bright-line

 ratio    which   a    punitive     damages     award   cannot        exceed.      Our

 jurisprudence        and   the     principles     it   has     now     established

 demonstrate, however, that, in practice, few awards exceeding a

 single-digit ratio between punitive and compensatory damages,

 to a significant degree, will satisfy due process.                     In [Pacific

Mutual Life Ins.        Co. v. Haslip,         499 U.S. 1, 23-24, 111 S. Ct.

 1032, 113 L. Ed. 2d 1 (1991)], in upholding a punitive damages

 award, we concluded that an award of more than four times the

amount of compensatory damages might be close to the line of

constitutional impropriety.                    . We cited that 4-to-1 ratio

again in [BMW of North America, Inc. v. Gore, 517 U.S. 559, 581,

116 S. Ct. 1589, 134 L. Ed. 2d 809 (1996)].                    The Court further




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 referenced a    long legislative history,          dating back over 700

 years and going forward to today,           providing for sanctions of

 double, treble, or quadruple damages to deter and punish.

 While these ratios are not binding, they are instructive.               They

 demonstrate what should be obvious:           Single-digit multipliers

 are   more   likely   to   comport   with   due    process,   while    still

 achieving the State's goals of deterrence and retribution, than

 awards with ratios in range of 500 to 1 .

       "'Nonetheless, because there are no rigid benchmarks that

 a punitive damages award may not surpass,            ratios greater than

 those we have previously upheld may comport with due process

 where a particularly egregious act has resulted in only a small

 amount of economic damages.               . The converse is also true,

 however.     When compensatory damages are           substantial,     then a

 lesser ratio,   perhaps only equal to compensatory damages,              can

 reach the outermost limit of the due process guarantee.                  The

 precise award in any case,       of course,       must be based upon the

 fact [s]   and circumstances of the defendant's conduct and the




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 harm to the plaintiff.'                   State   Farm Mutual     Ins.   Co. v.

 Campbell,   supra, 538 U.S. 424-25."          (Citation omitted; internal

 quotation marks omitted.)         Bridgeport Harbour Place I,            LLC v.

 Ganim,   supra, 131 Conn. App. 147-49.

      In Ulbrich v. Groth, supra, 310 Conn. 446-47, the Supreme

 Court held that the trial court's award of punitive damages

 under CUTPA was not an abuse of discretion where the trial court

 reasonably could have found that the defendant's conduct was

 reckless.   Id.    (jury reasonably could have found that defendant

 bank's   failure    to   inform plaintiffs        that    personal     property

 located at property at time of auction was not included in sale

 "was not merely negligent, but involved a conscious decision to

 disregard   acknowledged        business     norms"      and   gave    rise    to

 "substantial and unjustifiable" risk that plaintiffs would act

on misleading information).          Specifically, the court explained

that "the trial court concluded that the best characterization

of the bank's conduct             . is that it proceeded with reckless

or wilful    ignorance     and   indifference      to     the   risks   that   its




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 conduct        posed   to    prospective    bidders;    that    its    conduct    was

 inherently deceptive to bidders;                that its effort to maximize

 the bids        by   including the      business     property as      part   of the

 auction was beneficial to the bank's interests;                       and that the

 bank had a high net worth.              On the other hand, the court also

 recognized that the jury's compensatory damages award was not

 small, that the bank's conduct was not of a criminal nature and

 that the punitive damages award should not constitute a windfall

 to the plaintiffs.              In addition,       we note that       there was no

 evidence that the bank's conduct constituted anything other than

 an     isolated incident."            ( Internal    quotation marks      omitted.)

 Id.,    456.

         "Al though     the    trial   court's      punitive    damages    award    in

 [Ulbrich]       undoubtedly was a large one,           especially in light of

 the large size of the compensatory damages award,                     [the Supreme

Court could not] conclude that the award constituted a manifest

abuse of discretion or that an injustice was done . . . . Rather,

 [the Supreme Court concluded]              that the trial court reasonably




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 could have    concluded that     the     bank's   reckless   and deceptive

 conduct, together with the fact that the motive for the conduct

was to increase the profitability of the auction to the bank,

 the fact that the bank has a very high net worth and the fact

 that there is an established practice in this state of awarding

multiple damages for CUTPA violations, warranted the amount of

 the award. Accordingly,       [ the Supreme Court concluded] that the

 size of the    trial    court's punitive damages        award    [which was

 three times the compensatory award] did not constitute an abuse

of discretion."         (Ci tat ion omitted;   footnote omitted.)       Id.,

 456-57.

      Here,   the material allegations         of the complaints,      which

have been established by virtue of the defaults,                 entitle the

plaintiffs to an award of CUPTA punitive damages.             In support of

their claim for CUTPA punitive damages, the plaintiffs, in their

briefs,    support each Ulbrich factor with specific citations to

the record.    The defendants,     in taking the position that there

should be either no award of CUTPA punitive damages,               or only a




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 nominal    award,       advance         some of the           same      arguments         raised in

 their opposition to a common law punitive damages award, arguing

 that     the    verdict        reflects          the       nature       of    the     plaintiffs'

 arguments       at    trial,          that    the    future       deterrent         value    of   the

 verdict overlaps with the function of a punitive damages award

 under CUPTA,          that any award beyond a 1: 1 ration violates due

 process,       that    any award in excess of                      $1. 3 billion serves no

 lawful     purpose,         and       that    the        record    is   devoid       of     evidence

 regarding       the    defendants'            financial           resources        such   that    the

 court cannot properly determine an amount of punitive damages

 necessary for deterrence.

        In considering whether the defendants' actions were taken

 in order to augment profits, the court finds that despite the

 defendants'      abject failure to meet their obligations to fully

and fairly        comply with discovery-and despite the defendants'

 failure    to    produce          a    knowledgeable          corporate            representative

armed      wit~        sufficient             information-the            plaintiffs           clearly

established           that    the       defendants'           conduct         was    motivated      by




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 profit, by virtue of the convincing evidence including the text

 messages between Alex Jones and Tim Fruge regarding daily sales

 figures, the business model used by the defendants whereby they

 emulated content    including    Sandy Hook       content   to   reap more

 profits, the expert testimony of Clint Watts that Jones' use of

 Sandy Hook engaged the audience and drove up sales and profit,

 the spikes in sales revenue following the article "FBI Says No

 One Killed at Sandy Hook," and their use of the plaintiffs even

 during the trial to make money.

      With respect to whether the wrongdoing was hard to detect,

 the defendants' concealment of their conduct and wrongdoing, by

virtue of their stunningly cavalier attitude toward both their

discovery    obligations   and   court    orders    regarding     discovery

throughout the entire pendency of the case,             their unprepared

corporate    representative,     and    intentional    discovery    abuses,

militates in favor of a substantial award of punitive damages.

      In addressing the size of the injuries and compensatory

damages awards, and low incentive to bring the action, the court




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 concludes    that   despite    the   magnitude     of    the    injuries    and

 ultimate    outcome,   there   was    a    low   incentive     to   bring   and

 maintain an action like this. The road to reach a verdict here

 was a tortuous one, involving an unusual number of appeals, an

 extraordinary number of court filings, and numerous forays into

 federal    court including bankruptcy court. Moreover,               the trial

 record establishes     that    the defendants      remain      in   the unique

 position of having-and continuing to utilize-an immense media

 platform and audience to continue to target the plaintiffs, as

 well as mocking the plaintiffs'           attorneys,    the court,     and the

 very jury that they selected. It is, quite simply, unprecedented

 in American jurisprudence, and the court reaches the inescapable

 conclusion that despite the magnitude of the harms caused to

 the plaintiffs,     there is little incentive to bring an action

 like this against defendants such as these defendants, who have

continued to use their platform to attack.

      With    respect   to   deterrence,      the   defendants'       financial

resources,    and whether the award would financially destroy the




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 defendants,    the court bases its decision on the record before

 it,   including its findings of concealed financial records and

 analytics,    sanitized trial balances,                  sales    following the FBI

 article,   and the defendants'         intentional choice to produce an

 unprepared corporate designee,              who,    when asked how much money

 the defendants earned since 2012, could only provide an estimate

between over $100 million and up to $1 billion.

        Finally,      the    court      turns        to     the     most      important

 consideration--the degrees            or    relative blameworthiness,               that

 is, whether the defendants' conduct was reckless,                        intentional,

 or    malicious.     The   record     clearly       supports       the    plaintiffs'

 argument     that    the   defendants'           conduct    was    intentional      and

malicious,      and    certain    to    cause        harm    by    virtue     of    their

 infrastructure, ability to spread content, and massive audience

 including the "infowarriors." The record also establishes that

the     defendants     repeated      the         conduct    and     attacks    on     the

plaintiffs     for    nearly a    decade,          including during         the trial,

wanton, malicious, and heinous conduct that caused harm to the




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 plaintiffs.      This depravity,      and cruel,     persistent course of

 conduct     by the defendants       establishes     the highest degree      of

 reprehensibility and blameworthiness.

       The court recognizes that generally speaking, an award of

 punitive damages under CUTPA is equal to or double the amount

 of the compensatory award.          Here,   the court,    having considered

 all   the    pertinent    factors     under   the   law   as   well   as   the

 substantial nature of the compensatory damages award, finds that

 a lesser ratio is appropriate. Having considered the factors in

 light of the record before the court, the court awards the sum

 of $10 million in CUTPA punitive damages to each of the fifteen

plaintiffs.




                          Conclusion

       In conclusion, the court awards common law punitive damages

for attorneys fees in the total amount of $321,650,000.00 and




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 costs in the total amount of $1,489,555.94,         and awards CUTPA

punitive damages in the amount of $150,000,000.00.




                                        421277

                                        Barbara N. Bellis




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